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               Exhibit A
       Case
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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


SECURITIES AND EXCHANGE COMMISSION,

                       Plaintiff,

        v.

GREGORY LEMELSON and LEMELSON                          Civil Action No. 1:18-cv-11926-PBS
CAPITAL MANAGEMENT, LLC,

                       Defendants,

        and

THE AMVONA FUND, LP,

                       Relief Defendant.


                                      VERDICT FORM

For each question, please place a check mark beside the appropriate response.

We, the jury, unanimously respond to the following questions:

FIRST CLAIM:          Fraud in the Purchase or Sale of Securities
                      (Section 10(b) of the Securities Exchange Act and Rule 10b-5 thereunder)

1. Did Defendant Lemelson violate Section 10(b) of the Securities Exchange Act and Rule 10b-
   5?

   __________________ YES                                  __________________ NO


2. Did Defendant Lemelson Capital Management, LLC violate Section 10(b) of the Securities
   Exchange Act and Rule 10b-5?

   __________________ YES                                  __________________ NO
       Case
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SECOND CLAIM: Fraudulent, Deceptive, or Manipulative Act or Practice
              to Investors or Potential Investors in a Pooled Investment Vehicle
              (Section 206(4) of the Investment Advisers Act and Rule 206(4)-8)

3. Did Defendant Lemelson violate Section 206(4) of the Investment Advisers Act and Rule
   206(4)-8?

   __________________ YES                               __________________ NO


4. Did Defendant Lemelson Capital Management, LLC violate Section 206(4) of the Investment
   Advisers Act and Rule 206(4)-8?

   __________________ YES                               __________________ NO




   __________________                                   ______________________
   Date                                                 Foreperson




                                             2
